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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NEW YORK


   AVIVA STAHL,

                           Plaintiff,

        v.                                    No. 19-cv-4142 (BMC)

   FEDERAL BUREAU OF PRISONS, and             (Cogan, J.)
   DEPARTMENT OF JUSTICE,

                           Defendants.


      MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS’
      MOTION FOR SUMMARY JUDGMENT AND IN SUPPORT OF
      PLAINTIFF’S CROSS-MOTION FOR SUMMARY JUDGMENT



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  Dated: February 10, 2020
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                                  PRELIMINARY STATEMENT

         Plaintiff Aviva Stahl, an investigative journalist, seeks to vindicate her rights under the

  Freedom of Information Act (“FOIA”) to obtain records from Defendants Department of Justice

  (“DOJ”) and Federal Bureau of Prisons (“BOP”). Plaintiff’s request seeks the disclosure of thirteen

  videotapes that depict the 2015 involuntary rehydration and feeding of an individual who engaged

  in a peaceful hunger strike while in custody at the Administrative Maximum Facility in Florence,

  Colorado (“Florence ADX”). Defendants seek to withhold these videos in their entirety under 5

  U.S.C. § 552(b)(6) and (b)(7)(C), (E), and (F). Infra Background 3–4 n.1–4.

         The purpose of FOIA is to “open agency action to the light of public scrutiny” and to

  provide “a broad right of access to ‘official information.’” DOJ v. Reporters Comm. for Freedom

  of Press, 489 U.S. 749, 772–73 (1989) (internal citations omitted). Plaintiff seeks to use FOIA to

  shed light on a topic that has long been of significant public interest. Decl. of Aviva Stahl Decl. ¶

  8 (“Stahl Decl.”). Prisoner hunger strikes have drawn public attention since as early as 1917,

  when women imprisoned for supporting their right to vote went on hunger strike. See ‘Night of

  terror’: The suffragists who were beaten and tortured for seeking the vote, Wash. Post (Nov. 10,

  2017), https://wapo.st/2S6xoY3. The public remains interested in prison hunger strikes and

  force-feeding. For example, in 2013, the attention of the nation turned to California, when nearly

  30,000 prisoners went on hunger strike to protest long-term isolated confinement. See, e.g.,

  Hunger Strike by California Inmates, Already Large, Is Expected to Be Long, N.Y. Times (July

  10, 2013), https://nyti.ms/2H1lj04. Hunger strikes at Florence ADX have also captured the

  public’s attention. Since 2001, at least a dozen prisoners have participated in hunger strikes and

  been force-fed over thousands of times collectively as a result. Stahl Decl. ¶ 6–7. When the

  purpose of a FOIA request is to contribute to the public understanding of a topic, there is a




                                                   1
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  heightened interest in disclosure. Graff v. F.B.I., 822 F. Supp. 2d 23, 36 (D.D.C. 2011).

         Because FOIA creates a “strong presumption in favor of disclosure,” courts narrowly

  construe its exemptions, imposing a high burden on agencies to justify withholding information

  and resolving doubts in favor of disclosure. Cook v. Nat’l Archives & Records Admin., 758 F.3d

  168, 173 (2d Cir. 2014) (internal citations omitted). Nonetheless, Defendants here have withheld

  in their entirety thirteen videos of two involuntary medical treatments administered by BOP to

  someone who consented to their release.

         Defendants cannot meet their burden to show that any of the four claimed exemptions

  apply. They cannot show that videos of the involuntary medical treatment meet Exemption 7’s

  threshold requirement that the records were compiled for law enforcement purposes, where their

  own publicly available policy detailing force-feeding procedures states that its objective is the

  health and welfare of its prisoners. Defendants argue, against the great weight of authority, that

  the videos were compiled for law enforcement purposes simply because BOP engages in law

  enforcement activities. Furthermore, they cannot meet either of the additional requirements of

  Exemption 7(E)—that the videos show law enforcement techniques and procedures unknown to

  the public—where images and descriptions of the contents of the videos are already in the public

  domain. Nor can they show, as required by Exemptions 6 and 7(C) and 7(F), that releasing the

  videos can be expected to cause harm to or invade the privacy interests of “BOP staff” and “third

  parties,” who are already known to the individuals engaging in hunger strikes. They only vaguely

  describe both the expected harm and individuals to whom harm might come and point to no

  examples of any attempts at retaliation, despite the thousands of force-feedings at Florence ADX.

  Furthermore, the agencies made no attempt to meet their affirmative burden to show that there is

  no segregable material subject to disclosure within any of the videos. The Court should deny




                                                  2
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  Defendants’ motion for summary judgment and order them to disclose the information sought.

                                                 BACKGROUND

           Plaintiff Aviva Stahl is an investigative journalist who writes about prisons, national

  security, and immigration detention. Stahl Decl. ¶¶ 1–3. She has written extensively on federal

  prisons, including Florence ADX and the hunger strikes there. Id. ¶¶ 3–4, 12. For her reporting on

  Florence ADX, one of the hunger-strikers, Mohammad Salameh, gave her permission to seek his

  medical records, including any videos of him undergoing involuntary medical treatments

  administered in response to his hunger strikes. Id. ¶ 14.

  A.       Plaintiff’s FOIA Request

           On February 12, 2018, Ms. Stahl filed a FOIA request (the “Request”) seeking Salameh’s

  medical records. Stahl Decl ¶ 14. With Salameh’s consent, the Request sought all of his “medical

  exams, history and physical, operative reports . . . as well as videotapes of any involuntary medical

  treatment” from January 1, 2002 to December 31, 2015. Id. at ¶ 15. On March 23, 2018, Ms. Stahl

  filed an additional request specifically seeking videos of the involuntary treatment. Id.

  B.       Defendants’ Response

           In February and April 2018, the BOP acknowledged receipt of both of Ms. Stahl’s requests,

  consolidating them into one request. Compl. & Answer ¶ 60; Stahl Decl. ¶ 15, Ex. A. On August

  10, 2018, Ms. Stahl received a partial release of records from BOP. Compl. & Answer ¶¶ 75–76.

  The partial release included 1059 pages of medical records, four of which were partially redacted.

  Stahl Decl. ¶ 17, Ex. B. The BOP claimed exemptions 5 U.S.C. § 552(b)(6) 1 and (b)(7)(C) 2 over

  the entirety of the redacted pages by restating the statutory exemption language, and without



  1
    § 552(b)(6) exempts material constituting “a clearly unwarranted invasion of the personal privacy of third parties.”
  2
    § 552(b)(7)(C) exempts “records or information complied for law enforcement purposes the release of which could
  reasonably be expected to constitute an unwarranted invasion of the personal privacy of third parties.”


                                                            3
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stating which exemptions applied to which pages. Stahl Decl. ¶ 17, Ex. B.

        On September 24, 2018, the BOP sent a final response and release, which included 1567

unredacted pages and thirty-seven partially redacted pages of medical records. Compl. & Answer

¶¶ 92–94; Decl. of Erika Fenstermaker, Ex. D (“Fenstermaker Decl.”). Additionally, the BOP

informed Ms. Stahl that it was withholding six pages of records and six videos in their entirety.

Fenstermaker Decl., Ex. D. The BOP broadly claimed the previously cited exemptions in addition

to 5 U.S.C. § 552(b)(7)(E) 3 and (b)(7)(F) 4 over the entirety of the redacted pages, withheld pages,

and withheld videos, by restating the statutory exemption language, and without stating which

exemptions applied to which pages or videos. Id.

        Despite having claimed throughout the administrative process that the agency had

conducted a thorough and adequate search, it took multiple follow-up emails and over eight months

for the agency to complete a purported final release. Stahl Decl., ¶ 16, Ex. B; Fenstermaker Decl.,

Ex. D. However, even then, the release was not complete. On September 11, 2019, ten months

after the “final” release and after the commencement of this lawsuit, the agency notified Ms. Stahl

that the BOP had located an additional seven responsive videos that it would be withholding

pursuant to the same exemptions cited in the September 24, 2018 response. Fenstermaker Decl.,

Ex. D; Stahl Decl. ¶ 20. In total, the BOP broadly claimed the four cited exemptions to withhold

thirteen videos in their entirety, five pages of medical records in their entirety, and partially

redacted forty-two pages of medical records. Fenstermaker Decl. ¶¶ 16–17. After the meet and

confer process, the parties stipulated that the thirteen videos would be the only remaining subject

of the litigation. Oct. 25, 2019 Order re: Joint Stip., ECF No. 16, ¶ K (“Stip.”).


3
  § 552(b)(7)(E) exempts “records or information compiled for law enforcement purposes the release of which would
disclose techniques and procedures for law enforcement investigations or prosecutions.”
4
  § 552(b)(7)(F) exempts “records or information compiled for law enforcement purposes the release of which could
reasonably be expected to endanger the life or physical safety of any individual.”


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C.      BOP’s Policy on Hunger Strikes and the Involuntary Medical Treatment
        Administered in the Withheld Videos

        In order to respond to hunger strikes by prisoners, BOP has a Program Statement on Hunger

Strikes. Decl. of James Phelps ¶ 8, Ex. A (“Phelps Decl.”). The policy is publicly available on

BOP’s website: http://bit.ly/2UA9Uw4. It details BOP’s objectives, the types of vitals procedures

to be performed on a prisoner and frequency of those procedures, the equipment used for

involuntary treatment, and the type of protective gear staff use. Id. (citing Use of Force Program

Statement, Phelps Decl., Ex. B, which cites the protective gear list available at 29 C.F.R. 1910).

        Mr. Salameh was incarcerated at Florence ADX, H Unit from October 2002 to December

2015. 5 See Decl. of Mohammad Salameh ¶ 2 (“Salameh Decl.”). After successfully completing

the Florence ADX Step-Down Program, Mr. Salameh was transferred to USP Big Sandy, where

he has resided in general population since March 2019. Id. ¶ 3. While at Florence ADX, he

participated in hunger strikes as a peaceful protest. Id. ¶¶ 4–5. During his most recent hunger strike,

in October and November of 2015, BOP administered two involuntary medical treatments pursuant

to BOP policy—an intravenous rehydration on November 4 and a force-feeding on November 11.

Id. ¶ 6; Phelps Decl. ¶¶ 22, 36. The thirteen videos of these involuntary medical treatments created

pursuant to BOP policy are the subject of this lawsuit. Stip., ECF No. 16, ¶ K.

        Mr. Salameh’s October/November 2015 hunger strike lasted thirty-four days. Salameh

Decl. ¶ 5. On November 4, 2015, a team of officers and Lieutenant Sukdeo came to his cell and

requested he present himself for restraints to be taken to a medical exam room. Id. ¶¶ 12–13.

Because of his extreme physical weakness, he was unable to walk to the cell door and instead laid

on his stomach on his bed, with his hands behind him, and motioned to Lt. Sukdeo to come in. Id.


5
 Defendants correctly note that Salameh was convicted in connection with his role in the 1993 World Trade Center
bombing but incorrectly note that the bombing was conducted by al Qaeda. Defs’ Mem. Supp. Summ. J. 1, 6. See
NAT’L COMM’N ON TERRORIST ATTACKS UPON THE U.S., THE 9/11 COMMISSION REPORT (2004).


                                                       5
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¶ 13. 6 The team hand-cuffed Mr. Salameh with rapid-cuffs and leg irons. Salameh Decl. ¶ 13.

         Mr. Salameh was taken to a medical exam room where an Emergency Medical Technician

[“EMT”], identified as EMT Huddleston, determined he needed intravenous rehydration. Salameh

Decl. ¶¶ 14–15. The officers handcuffed Mr. Salameh in front and put him on a gurney on his

back. Id. ¶ 16. Huddleston inserted the IV into his right arm. Id. ¶ 16. During the treatment, Mr.

Salameh’s arm bled and he was shivering and shaking because the IV solution was cold compared

to his body temperature. Id. ¶ 16. Mr. Salameh did not resist the treatment. Id. ¶ 24.

         One week later, a team of officers and Lieutenant Jones came to his cell and requested he

present himself for restraints in order to be taken to a medical exam room. Salameh Decl. ¶ 18.

This time, Mr. Salameh was able to walk to the cell door, relying on the cell walls for support due

to his physical weakness. Id. ¶ 19. The team restrained him with rapid-cuffs, leg irons, and chains.

Id. ¶ 19. He was taken to the medical exam room in a wheelchair. Id. ¶ 19. A physician assistant

[“PA”], identified as PA Osagie, determined he required force-feeding, and the treatment was

administered to Mr. Salameh while he was restrained in the same manner in the wheelchair. Id. ¶¶

20–21. To begin the treatment, an officer held his head while Osagie inserted the naso-gastric tube

into his nose down to his stomach. Id. ¶ 22. Throughout the treatment, the officer stood behind

him, but did not hold his head. Id. ¶ 22. During this treatment, due to the irritation and obstruction

of the tube in his throat, Mr. Salameh involuntary vomited. 7 Salameh Decl. ¶ 23. Mr. Salameh did

not resist the treatment. Salameh Decl. ¶ 24.




6
  Defendants’ declarant Phelps, who watched the video but was not himself present at the scene, claims, without
supporting evidence, that Mr. Salameh refused to be removed from his cell. See Phelps Decl. ¶ 28.
7
  Mr. Phelps states that Salameh attempted to resist the treatment by deliberately vomiting. Phelps Decl. ¶ 47. Phelps
was not present for the treatment, but claims to ascertain this information from viewing the video. Mr. Salameh states
that he did not resist the treatment and that vomiting in this instance was involuntary. Salameh Decl. ¶¶ 23–24.


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D.     Procedural Posture

       Ms. Stahl filed her Complaint on July 17, 2019. ECF No. 1. The parties reached agreement

that all responsive documents had either been disclosed or identified and that Ms. Stahl would no

longer seek disclosure of the five pages withheld in full or the forty-two pages withheld in part.

Stip., ECF No. 16, ¶¶ G–I. On October 25, 2019, the parties informed the Court that the issue to

be briefed on summary judgment is the propriety of BOP’s decision to withhold the thirteen videos

pursuant to FOIA Exemptions 5 U.S.C. § 552(b)(6), (7)(C) , (7)(E), and (7)(F). Id. at K.

                                         ARGUMENT

       FOIA is premised on a policy strongly favoring public disclosure of information possessed

by federal agencies. Halpern v. F.B.I., 181 F.3d 279, 286 (2d Cir. 1999); Nat’l Council of La Raza

v. DOJ, 411 F.3d 350, 355 (2d Cir. 2005). FOIA requires the government to disclose its records

unless they fall within one of the enumerated exemptions set forth in the statute, which are to be

narrowly construed, with doubts resolved in favor of disclosure. Nat’l Council of La Raza, 411

F.3d at 356; Dep’t of Air Force v. Rose, 425 U.S. 352, 361 (1976). While the nine exemptions

protect some records from disclosure in some circumstances, they are not meant to be used to

circumvent FOIA’s aim of openness and broad disclosure. Fed. Labor Relations Auth. v. Dep’t of

Veterans Affairs, 958 F.2d 503, 508 (2d Cir. 1992).

       To prevail in withholding records, “the agency asserting the exemption bears the burden of

proof, and all doubts as to the applicability of the exemption must be resolved in favor of

disclosure.” Wilner v. Nat’l Sec. Agency, 592 F.3d 60, 69 (2d Cir. 2009); see also Nat’l Council of

La Raza, 411 F.3d at 356. The burden cannot be satisfied by conclusory and generalized allegations

of the exemptions. Vaughn v. Rosen, 484 F.2d 820, 825–26 (D.C. Cir. 1973) (“[T]he agency may

not sweep a document under a general allegation…It is quite possible that part of a document




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should be kept secret while part should be disclosed.”). To meet its burden, the agency’s

declarations must detail which portions of each record are disclosable and which are exempt by

subdividing the records into manageable parts and applying the claimed exemptions to each part.

Id. at 827. Defendants fail to meet this burden because they did not apply the four claimed

exemptions to the different portions of the thirteen videos, or even separately to each video.

Instead, they broadly claim all four exemptions apply to all parts of all thirteen videos.

       Furthermore, under FOIA, this Court reviews de novo any agency decision to withhold

information. 5 U.S.C. § 552(a)(4)(B). The “agency’s decision that the information is exempt from

disclosure receives no deference.” Bloomberg, L.P. v. Bd. of Governors of Fed. Reserve Sys., 601

F.3d 143, 147 (2d Cir. 2010). As in other litigation, summary judgment in a FOIA case is properly

granted when there is no genuine issue as to any material fact and the moving party is entitled to

judgment as a matter of law. Bryant v. Maffuci, 923 F.2d 979, 982 (2d Cir. 1991). Defendants

cannot meet their burden here because they fail to fulfill the statutory requirements of the claimed

exemptions. They do not show that the records were compiled for law enforcement purposes and

that they reveal law enforcement techniques and procedures previously unknown to the public.

Nor do they show that the videos could reasonably be expected to physically endanger any

individual or that release could be expected to constitute an unwarranted invasion of personal

privacy of third parties. Critically, Defendants fail to show that the materials are not segregable.

I.     DEFENDANTS FAIL TO MEET THEIR BURDEN TO JUSTIFY WITHHOLDING
       ALL VIDEOS UNDER EXEMPTION 7(E)

       Withholding the thirteen videos in their entirety under Exemption 7(E) is improper because

they meet none of the three requirements of the statute: they (1) were not compiled for law

enforcement purposes and (2) would not reveal law enforcement techniques and procedures that

are (3) previously unknown to the public. 5 U.S.C. § 522(b)(7)(E). Exemption 7(E) protects from



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disclosure records or information compiled for law enforcement purposes only to the extent

production of such records or information would disclose “techniques and procedures for law

enforcement investigations or prosecutions” that are generally unknown to the public. Id.; Knight

First Amendment Inst. at Columbia Univ. v. D.H.S., 407 F. Supp. 3d 334, 352 (S.D.N.Y. 2019).

       A.      The Involuntary Medical Treatment Videos Were Not Compiled for Law
               Enforcement Purposes

       Defendants argue that they meet Exemption 7’s threshold requirement that the records were

“compiled for law enforcement purposes” simply because the BOP engages in law enforcement

activities. Defs’ Mem. Supp. Summ. J. 11 (“Def’s Mem.”). They ignore the well-established rule

that no agency’s records are considered per se compiled for law enforcement purposes simply

because they are maintained by a law enforcement agency. See Pinson v. DOJ, 236 F. Supp. 3d

338, 366 (D.D.C. 2017) (finding certain BOP records not compiled for law enforcement purposes

and rejecting BOP’s position as coming close to the rejected per se rule); Benavides v. Bureau of

Prisons, 774 F. Supp. 2d 141, 147 (D.D.C. 2011) (rejecting a “per se” application of the Exemption

7 threshold to BOP records); Am. Immigration Council v. D.H.S., 950 F. Supp. 2d 221, 245–46

(D.D.C. 2013) (finding ICE records did not meet the requirement); Quinon v. F.B.I., 86 F.3d 1222,

1229–30 (D.C. Cir. 1996) (finding FBI records did not meet the requirement).

       Rather, to qualify as law enforcement records under Exemption 7, “documents must

arise out of ‘investigations which focus directly on specifically alleged illegal acts…which could,

if proved, result in civil or criminal sanctions.’” Bartko v. DOJ, 898 F.3d 51, 64 (D.C. Cir. 2018)

(internal citation omitted) accord Halpern, 181 F.3d at 296 (holding that agency withholding under

Exemption 7 must “demonstrate[] that the records were compiled in the course of an investigation

conducted by a law enforcement agency”). “The law-enforcement-purpose inquiry focuses ‘on

how and under what circumstances the requested files were compiled,’ and ‘whether the files



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sought relate to anything that can fairly be characterized as an enforcement proceeding.’” Bartko,

898 F.3d at 64 (internal citation omitted).

       To demonstrate that documents were compiled for a law enforcement purpose, an agency

must establish “a rational nexus between the investigation and one of the agency’s law

enforcement duties,” and “a connection between an individual or incident and a possible security

risk or violation of federal law.” Center for Nat’l Sec. Studies v. DOJ, 331 F.3d 918, 926 (D.C.

Cir. 2003) (internal citation and quotation marks omitted); see also Human Rights Watch v. DOJ

Fed. Bureau of Prisons, No. 13-CV-7360 (JPO), 2015 WL 5459713, at *5 (S.D.N.Y. Sept. 16,

2015) (applying the “rational nexus” test from Pratt v. Webster, 673 F.2d 408, 420 (D.C. Cir.

1982), and ordering release of several BOP records without redactions).

       Instead of attempting to show how the withheld videos specifically pertain to an

investigation or otherwise were compiled for law enforcement purposes, Defendants lean heavily

on the law enforcement duties of BOP, without establishing the nexus between those duties and

any “investigation” of a particular individual or incident that could be the subject of the videos.

See Defs’ Mem. 11–12. BOP records are not per se exempt, and thus, simply restating BOP’s

statutory authority and duties, as Defendants do here, does not meet the threshold requirement.

Benavides v. Bureau of Prisons, 774 F. Supp. 2d at 146–47 (D.D.C. 2011) (finding BOP cannot

meet requirement by “‘merely point[ing] to its mission’ as blanket reference to the agency’s law

enforcement duties” or by restating its functions “such as making arrests, executing searches on

inmates and visitors to its institutions, and seizing evidence.”); Pinson, 236 F. Supp. 3d at 366.

Likewise, no per se rule exists designating records maintained by the Special Investigative

Services office (“SIS”) as compiled for law enforcement purposes on the basis that they were

created as part of BOP’s mission to protect inmates, staff, and the community. See Pinson v. DOJ,




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313 F. Supp. 3d 88, 113–14 (D.D.C. 2018). 8 BOP has been directed to release its records under

FOIA on numerous occasions. See, e.g., Davis v. D.H.S., No. 11-CV-203 (ARR)(VMS), 2013 WL

3288418, at *13–14 (E.D.N.Y. June 27, 2013) (directing BOP to release videos of prisoner on

prisoner assault and videos of cell extraction inside Metropolitan Detention Center); Benavides,

774 F. Supp. 2d at 146–47 (directing BOP to release computer system records which track,

monitor, and record prisoner calls); Pinson, 313 F. Supp. 3d at 118–19 (directing BOP to release

“documents associated with a statute-based programming assignment used to manage Pinson”).

         Nor do the cases Defendants cite as supporting their position here compel or even suggest

a finding that the involuntary treatment records at issue are exempt from disclosure. See Defs’

Mem. 13 (citing Mingo v. DOJ, 793 F. Supp. 2d 447, 454 (D.D.C. 2011) (rejecting pro se prisoner’s

FOIA request of SIS videos and medical records pertaining to an altercation between fifty

prisoners)). Defendants’ claim that Zander v. DOJ is “directly on point” (Defs’ Mem. 13) on the

issue of “law enforcement purposes” is perplexing because the Zander court never addressed that

issue. 885 F. Supp. 2d 1, 7 (D.D.C. 2012), on reconsideration in part (Oct. 31, 2012).

         Deference to the agency does not mean all information about BOP procedures meets the

Exemption 7 “compiled for law enforcement purposes” threshold. See Human Rights Watch, 2015

WL 5459713, at *5 (“This broader, commonsense understanding of ‘law enforcement purposes’

need not and does not embrace all BOP records….”).

         B.       The Involuntary Medical Treatment Videos Do Not Disclose Techniques and
                  Procedures for Law Enforcement Investigations

         Even if Defendants were able to show that the requested documents were compiled for law

enforcement purposes, they would not be able to meet Exemption 7(E)’s second requirement, that


8
 Defendants’ citation to Pinson to support their argument that their declarations adequately meet their burden is a
quote to the agency’s declarant in Pinson, rather than to the court’s finding. Defs’ Mem. at 22–23, citing Pinson, 313
F. Supp. 3d at 117–18.


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the withheld records disclose “techniques and procedures for law enforcement investigations or

prosecution.” This requirement is defined by the Second Circuit as “how law enforcement officials

go about investigating a crime.” See Allard K. Lowenstein Intern. Human Rights Project v. D.H.S.,

626 F.3d 678, 682 (2d Cir. 2010). Defendants do not, and cannot, claim, that involuntary medical

treatments—force-feeding and intravenous rehydration—fall within this definition. By

Defendants’ own admission, BOP’s stated objectives of involuntary treatment in its Program

Statement on hunger strikes are: (a) monitoring the health and welfare of inmates on hunger strike;

(b) regularly offering food and beverages; (c) administering treatment when an inmate’s life or

health is threatened; and (d) properly reviewing, documenting, and reporting every incident of an

inmate on hunger strike. Phelps Decl., Ex. A. The BOP’s own stated intent here does not relate to

investigating crime or an investigation of any kind.

       Additionally, Defendants fail to explain which portions of which videos depict the

techniques and procedures claimed in Defendants’ brief. Defs’ Mem. 21–22. The videos Ms. Stahl

seeks depict multiple events, actions by officers, and combinations of officers participating in the

events: a force-feeding and an involuntary rehydration, Mr. Salameh voluntarily being restrained

for routine movement within the prison, officers entering Mr. Salameh’s cell (who is physically

too weak to move to the cell door) to restrain him for routine transportation, and Mr. Salameh

being escorted through the Health Services Department. Supra Background 4–6; Salameh Decl. ¶

8.

       Some of these events and portions of the videos do not depict any of what Defendants claim

to be investigatory techniques and procedures. The Phelps Declaration notably lacks a detailed

description of what occurs in the videos during the involuntary medical treatments. Phelps Decl.

¶¶ 33, 47. Missing from Defendants’ description of the medical procedures is whether the team




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are touching or around Mr. Salameh during the procedure or whether any investigatory techniques

and procedures are depicted during these parts of the videos. Mr. Salameh’s recollection is that

they were not touching him. Salameh Decl. ¶¶ 16, 22. Thus, most, if not all, of what the agency

lists as at risk of disclosure (e.g., protective gear and security equipment, locations where

equipment is stored, manner in which inmates are restrained, duties/responsibilities of each staff

member, strategies for conflict avoidance, layout of Florence ADX) are not apparently depicted in

the parts of the videos showing involuntary medical treatments.

       Furthermore, if, as Mr. Salameh states, he was not forcibly extracted from his cell, but

rather escorted voluntarily, these portions of the video also do not depict any such investigatory

law enforcement techniques or procedures. As Salameh states, he was physically too weak to resist

and acquiesced entirely to the placement of the restraints when he was escorted for the involuntary

rehydration and he voluntarily exited his cell for the involuntary feeding. Salameh Decl. ¶¶ 13, 19.

       That a BOP cell extraction video was not claimed exempt and ordered released in Davis v.

D.H.S., 2013 WL 3288418, at *13–14 (E.D.N.Y. June 27, 2013), and that a calculated use of force

photo and descriptions were permitted to be withheld in Pinson v. DOJ, 313 F. Supp. at 117,

indicate that certain use of force related images in prisons may at times be claimed and found to

be exempt under 7(E). However, here, where the video requested depicts a prisoner submitting to

involuntary medical treatment, it is clear that there are no investigatory techniques and procedures

that would be revealed by releasing all or some of the video.

       C.      The Involuntary Medical Treatment Videos Are Known to the Public

       Defendants have not met their burden to show that the records reveal techniques and

procedures that are generally “not known to the public.” Schwartz v. D.E.A., No. 13-CV-5004

(CBA)(RML), 2016 WL 154089, at *10–11 (E.D.N.Y. Jan. 12, 2016), aff’d, 692 F. App’x 73 (2d




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Cir. 2017; Am. Immigration Council v. D.H.S., 950 F. Supp. 2d at 247 (explaining an agency’s

evidentiary burden includes an exploration of why the technique or procedure is not generally

known to the public). Public knowledge of BOP’s force-feeding procedures was established in

Rosenberg v. DOD. 342 F. Supp. 3d 62, 93 (D.D.C. 2018). In distinguishing the Joint Task Force

Guantanamo (“JFT-GTMO”) force-feeding procedures from those of the BOP, the court found the

fact that BOP’s force-feeding procedures were generally known to the public, while JFT-GTMO’s

were not, was a critical difference and key to its decision. Id. at 95.

    BOP’s force-feeding procedures are in the public domain in many ways, several of which are

listed in the Phelps Declaration. Phelps Decl. ¶ 56. First, they are described in the BOP’s own

program statements, which are publicly available on the BOP’s website. Phelps Decl., Ex. A and

B; supra Background 5. Next, approximately 2,600 pages of Mr. Salameh’s medical records

documenting instances of force-feeding, details of the procedures, and what and how the treatment

was provided (including records from November 4, 2015 and November 11, 2015) were already

released to Ms. Stahl. Stahl Decl. ¶ 17–19, Ex. C. Additionally, BOP’s force-feeding procedures

are widely depicted in the media, including, but certainly not limited to, Ms. Stahl’s article based

on her conversations with Mr. Salameh. Stahl Decl. ¶¶ 5–8, 10–12. These depictions are based on

first-hand accounts of the force-feeding procedures given by prisoners to journalists and others.

See id. ¶¶ 10–12.

       Physical aspects of Florence ADX are also known to the public. Indeed, the 60 Minutes

video which initiated Ms. Stahl’s reporting on the facility shows videos and photos of guards,

prisoners, restraints on prisoners, cell doors, keys, hallways, prisoners and guards travelling

throughout the facility, and cells in the prison. 9 Id. ¶ 5–6. Pictures inside the facility have been


9
   Supermax: A clean version of hell, 60 Minutes on CBS News (most recent air date June 23, 2019),
https://cbsn.ws/2OATmAq.


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released to the public via litigation, some of which also appear in Ms. Stahl’s article. Stahl Decl.

¶ 13. These images and descriptions are available elsewhere online, including in the District of

Columbia     Corrections    Information     Council    Inspection    Report    on    Florence    ADX,

http://bit.ly/39gFhQr. Depictions of the protective gear referenced in the Hunger Strike and Use

of Force policies are publicly available on OSHA’s website. See supra Background 4; 29 C.F.R.

1910, http://bit.ly/38kAGws. While Defendants suggest that releasing videos that depict such

things as officers’ protective gear, the manner in which restraints are used, and the type of restraints

used would reveal “law enforcement techniques and procedures,” (Defs’ Mem. 21–22) they fail to

meet their burden to show that prisoners at Florence ADX are not already aware of these

conditions. While the videos may depict images that are generally unknown, such as the location

where keys are secured, Defendants fail to meet their burden to show that this material is not

segregable. See infra Part IV.

        Because BOP’s hunger strike policy is already in the public domain, Defendants attempt

to argue that “even commonly known procedures” may be protected under Exemption 7(E). Defs’

Mem. 21 (citing Vazquez v. DOJ, 887 F. Supp. 2d 114, 116–17 (D.D.C. 2012). However, the

Second Circuit’s rule that Exemption 7(E) requires law enforcement techniques and procedures to

be generally unknown to the public remains in effect. See Knight First Amendment Inst. at

Columbia Univ. v. D.H.S., 407 F. Supp. 3d 334, 352 (S.D.N.Y. 2019) (citing Doherty v. DOJ, 775

F.2d 49, 52 n.4 (2d Cir. 1985)); see also ACLU v. D.H.S., 243 F. Supp. 3d 393, 402 (S.D.N.Y.

2017) (rejecting “even commonly known procedures” formulation put forth here by Defendants).

II.     THE DEFENDANTS FAIL TO MEET THEIR BURDEN TO JUSTIFY
        WITHHOLDING ALL VIDEOS UNDER EXEMPTION 7(F)

        In order to withhold information under Exemption (7)(F), Defendants must show that the

videos were “compiled for law enforcement purposes” and could “reasonably be expected to



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endanger the life or physical safety of any individual.” 5 U.S.C. § 552(b)(7)(F). Defendants have

failed to meet their threshold burden of showing that the withheld videos were compiled for law

enforcement purposes. See supra Part I.A. Furthermore, Defendants’ declarants do not present

facts sufficient to meet the other two parts of the test.

        A.      Defendants Cannot Demonstrate with Sufficient Specificity the Harm that
                They Claim Could Result from the Disclosure of the Videos

        Exemption 7 only protects from disclosure records that are “compiled for law enforcement

purposes” to the extent that such disclosure would cause an “enumerated harm.” Benavides v.

Bureau of Prisons, 774 F. Supp. 2d at 145 (citing F.B.I. v. Abramson, 456 U.S. 615, 622 (1982)).

In assessing enumerated harm, courts only defer to an agency’s assessment of danger “within

reason.” Pinson v. DOJ, 313 F. Supp. at 119–20 (finding DOJ not entitled to withhold BOP

documents under Exemption 7(F)). The agency must make a showing of sufficient facts to support

its assessment of danger. Sluss v. DOJ, No. 17-cv-00064, 2019 WL 2493447, at *7 (D.D.C. June

14, 2019). Indeed, the court’s deferential standard of review is not “vacuous,” but requires a “nexus

between disclosure and possible harm. . . .” Campbell v. DOJ, 164 F.3d 20, 32 (D.C. Cir. 1998),

as amended (Mar. 3, 1999); Albuquerque Pub. Co. v. DOJ, 726 F. Supp. 851, 858 (D.D.C. 1989).

To meet the “reasonably be expected” threshold, descriptions of the harm or danger likely to occur

cannot be vague and conclusory. 5 U.S.C. § 552(b)(7)(F); Sanchez-Alaniz v. Fed. Bureau of

Prisons, 85 F. Supp. 3d 208, 211 (D.D.C. 2015). Unsupported speculation about the possible harm

from disclosure cannot serve as justification for withholding under 7(F). Long v. DOJ, 450 F. Supp.

2d 42, 80 (D.D.C. 2006), amended on other grounds, 479 F. Supp. 2d 23 (D.D.C. 2007).

        To establish a reasonable expectation of harm or danger that could occur if the videos are

disclosed, Defendants only offer that “disclosure. . . could endanger the life or physical safety of

BOP staff or other third parties involved, as inmates or their confederates may seek to retaliate



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against staff involved in calculated uses of force.” Fenstermaker Decl., Ex. E. This fails to meet

the threshold standard in the statute because it lacks any real nexus between disclosure of the

videos and the stated harm of retaliation, instead utilizing vague assertions that reveal nothing

about how such retaliation might actually occur. See Amuso v. DOJ, 600 F. Supp. 2d 78, 101

(D.D.C. 2009); Petrucelli v. DOJ, 51 F. Supp. 3d 142, 172 (D.D.C. 2014). Whereas in Garcia v.

DOJ, Office of Info. & Privacy redactions and withholding were proper because the plaintiff had

a consistent “history of retaliation against individuals who ha[d] provided information about him

to law enforcement agencies,” Defendants here do nothing to explain how retaliation would occur,

or why they believe it is likely to occur with disclosure of the videos. 181 F. Supp. 2d 356, 378

(S.D.N.Y. 2002).

          Defendants here provide no evidence that retaliation against staff is likely to result from

the release of these videos. Notably, Mr. Salameh was force-fed more than 200 times and there

have been thousands of other incidences of force-feeding of other people at Florence ADX. See

Stahl Decl. ¶¶ 7, 11–12. Presumably, other prisoners knew the identities of at least some of the

staff who participated in their force-feedings, as Mr. Salameh did, but Defendants do not point to

a single instance where anyone attempted to harm or retaliate against any of these individuals. See

Salameh Decl. ¶¶ 13–23; see generally Phelps Decl. and Fenstermaker Decl. Defendants provide

no evidence or explanation as to why that would change with disclosure of the videos. Such vague

and conclusory assertions of danger are insufficient for withholding. Halpern v. F.B.I., 181 F.3d

at 293.

          Furthermore, Mr. Salameh successfully completed the Florence ADX Step-Down program

and has since been moved to a general population setting in a prison in Kentucky. Salameh Decl.

¶ 3. Disclosure of the videos does not establish a reasonable expectation of harm, since a “vast




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geographical distance” separates Mr. Salameh from anyone who conceivably might be in danger

of retaliation if the videos were disclosed. Ruston v. DOJ, No. 06-0224 (RMU), 2007 WL 809698,

at *6 (D.D.C. Mar. 15, 2007) (finding that geographical distance between prisoner plaintiff and

BOP doctor mitigated any palpable risk of harm).

        In a further attempt to explain how retaliation might occur, Ms. Fenstermaker states that

“[d]isclosure of this information could subject these individuals to retaliation … at the direction of

inmate Salameh, …or indeed anyone else who objects to the tactics depicted in the videos.”

Fenstermaker Decl. ¶ 50 (emphasis added). This claim is so vague that it states neither the

reasonable likelihood of harm nor, indeed, the harm itself. Because Defendants’ claim about who

might be at risk of retaliation is so attenuated and lacks “reasonably specific detail,” it also fails to

establish that the videos “logically fall[] within the claimed exemption.” Larson v. Dep’t of State,

565 F.3d 857, 862 (D.C. Cir. 2009).

        Finally, Defendants incorrectly analogize this case with Zander, where a cell extraction

video was withheld because “[r]emoving prisoners from their cells presents clear dangers to the

law enforcement officers who are charged with the task.” Zander v. DOJ, 885 F. Supp. 2d 1, 7

(2012); see also Defs’ Mem. 19–20. There, Zander, a pro se plaintiff, sought videos of his own

contentious and violent cell extraction., Zander v. DOJ, (No. 10-CV-02000-JDB), Compl. ¶ 17,

ECF No. 1. In this case, the videos primarily depict the involuntary medical procedures, entirely

different from a forcible and violent cell extraction. When Mr. Salameh was removed from his cell

to the medical exam room for the procedures, he did not resist, and there was no violent

confrontation. See supra Background 5, n.6; see also supra Part I.B; Phelps Decl. ¶ 42; Salameh

Decl. ¶ 24. The harms associated with such a contentious cell extraction as explained in Zander

are not present in this case.




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        B.      Defendants Cannot Identify “Any Individual” with Sufficient Specificity

        Defendants similarly fail to identify “any individual” whose life or physical safety could

be endangered with “reasonable specificity.” ACLU v. DOD, 543 F.3d 59, 71 (2d Cir. 2008),

vacated on other grounds, 558 U.S. 1042 (2009), (providing in-depth analysis of Supreme Court’s

interpretation of the word ‘any’ across federal statutes and analyzing its use in FOIA to find it to

require agencies to identify individuals to whom harm would reasonably be expected to come from

disclosure); see also New York Times Co. v. U.S. Secret Serv., No. 17 Civ. 1885 (PAC), 2018 WL

722420, at *9 (S.D.N.Y. Feb. 5, 2018). Contrary to Defendants’ assertion that “any individual” is

a broad designation that literally refers to anyone (Defs’ Mem. 17), the term does not actually refer

to anyone that could possibly be harmed by disclosure of the contested records, but rather, to a

“small and specific” group. ACLU, 543 F.3d at 68, 71. “Any individual” cannot refer simply to

“individuals identified solely as members of a group so large that risks which are clearly

speculative for any particular individuals become reasonably foreseeable for the group.” Id. at 67.

To withhold under 7(F), “an agency must identify at least one individual with reasonable

specificity.” Id. at 71.

        Here, Defendants identify the overly broad class of “BOP staff or other third parties

involved” as people whose life could be endangered by release of the videos. See Vaughn index,

Fenstermaker Decl., Ex. E, at 5. They do not identify the number of individuals included in this

group, nor do they attempt to identify them by rank or name. By stating in their Vaughn that

incarcerated people may seek to retaliate against “staff involved in calculated uses of force” more

broadly, Defendants move even further away from describing the individual with “reasonable

specificity.” See ACLU, 543 F.3d at 71 (2d Cir. 2008). Defendants attempt to stitch together a

showing of reasonable expectation of endangerment “by aggregating miniscule and speculative




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individual risks over a vast group of individuals.” Id.

       Furthermore, Defendants make it impossible for the court to determine which individuals

are likely to be harmed because they use different designations to describe “any individual.” They

vacillate between defining “any individual” as staff in the withheld videos, “staff who willingly

participate in a calculated use of force,” or BOP staff in general. Defs’ Mem. 18; Phelps Decl. ¶¶

54, 55. The staff in the videos have already been named by Mr. Salameh, and thus any danger to

them from disclosure is mitigated. Salameh Decl. ¶¶ 13–23. “[S]taff who willingly participate in

a calculated use of force” and BOP staff in general are such large groups as to be insufficiently

vague. ACLU, 543 F.3d at 71.

III.   THE DEFENDANTS FAIL TO MEET THEIR BURDEN TO JUSTIFY
       WITHHOLDING ALL VIDEOS UNDER EXEMPTIONS 6 AND 7(C)

       Defendants have not made an adequate showing under the privacy protections of

Exemptions 6 and 7(C) that they are entitled to withhold all thirteen videos in their entirety. These

two exemptions are closely related. Exemption 6 permits withholding of “personnel and medical

files and similar files,” disclosure of which would create an “unwarranted invasion of personal

privacy.” 5 U.S.C. § 552(b)(6). The exemption “creates a heavy burden” for the agency as “the

presumption in favor of disclosure is as strong as can be found anywhere in the Act.” Morley v.

CIA, 508 F.3d 1108, 1127 (D.C. Cir. 2007) (internal quotation marks omitted). Exemption 7(C)

allows agencies to withhold law enforcement records, the disclosure of which “could reasonably

be expected to constitute an unwarranted invasion of personal privacy.” § 552(b)(7)(C). For the

exemptions to apply, Defendants must show that the privacy interests at stake outweigh the

substantial interest in public disclosure.

       As to both Exemptions, Defendants fail to meet the requisite threshold requirements. Under

Exemption 7(C), they fail to show that the videos were compiled for law enforcement purposes.



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See supra Part I.A. For Exemption 6, they fail to show that the videos are personnel, medical, or

similar files with respect to the people whose privacy interests are at stake. 10 “The inquiry in this

jurisdiction is ‘whether the records at issue are likely to contain the type of personal information

that would be in a medical or personnel file.’” Nat’l Day Laborer Org. Network v. U.S.

Immigration & Customs Enf’t Agency, 811 F. Supp. 2d 713, 745 (S.D.N.Y. 2011), amended on

other grounds (Aug. 8, 2011) (quoting Wood v. F.B.I., 432 F.3d 78, 86 (2d Cir. 2005)). “It is not

the case that any mention of a federal employee’s name may be withheld.” Id. at 746. Here,

Defendants make no showing that the videos are similar to personnel files.

         Assuming arguendo that Defendants meet the exemptions’ threshold requirements, the

Court must then determine whether disclosure of the disputed records would compromise a

“substantial privacy interest,” and balance that risk against the public’s interest in disclosure—the

right to know what the government is doing and how agencies are performing their statutory duties.

Prison Legal News v. Samuels, 787 F.3d 1142, 1147 (D.C. Cir. 2015). To determine the public’s

interest, the court asks whether disclosure would further the public’s understanding of operations

or activities of the government. See Pinson, 313 F. Supp. 3d at 111 (citing Bartholdi Cable Co. v.

F.C.C., 114 F.3d 274, 282 (D.C. Cir. 1997)). To determine the risk of invasion of personal privacy,

the court asks whether disclosure of agency employees’ identifying information could cause

harassment and embarrassment. See U.S. Dep’t of State v. Ray, 502 U.S. 164, 176 n.12 (1991).

         Here, the privacy interest is de minimis. The agency’s declaration identifies instances in

the videos where staff members state their names and their images can be seen as the reasons

personal privacy is at risk. Phelps Decl. ¶ 54. However, by Defendants’ own admission, the names

are stated and images portrayed in discrete moments in the videos, not throughout all portions of


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   While the videos are certainly part of Mr. Salameh’s medical records, no party suggests that his privacy issues are
at stake in this litigation.


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all videos. Phelps Decl. ¶¶ 24–50. In many paragraphs of the Phelps declaration, it is not stated

that images or faces can be seen, only that protective gear or equipment is visible. Phelps Decl. ¶¶

29–33, 40, 43, 44, 46, 47. Notably, paragraphs 33 and 47, describing the moments of the

administration of the involuntary medical treatments, do not state that staff images or identifying

information can be seen. Phelps Decl. ¶¶ 33, 47. Finally, even where staff are shown, the

declaration does not establish identifying information is shown such that it would cause harassment

and embarrassment. U.S. Dep’t of State, 502 U.S. at 176 n.12. See supra Part II.A (arguing that

Defendants provide no evidence that harm to BOP staff would result from release).

        The public interest in disclosure outweighs any privacy interest. There is a substantial

interest in informing and educating the public on “the operations and activities” at Florence ADX

and other BOP facilities. See ACLU v. DOD, 389 F. Supp. 2d 547, 573 (S.D.N.Y. 2005) (finding

public interest in “spark[ing] debate about the causes…that led to the breakdown of command

discipline at Abu Ghraib prison and, possibly, by extension, to other prisons…” was the very

purpose that FOIA was intended for). Transparency over BOP operations and activities, such as

the hunger striking and calculated use of force procedures, is of paramount importance to public

discourse and the healthy functioning of democracy. Indeed, as made clear from media reporting

on both this prison and prison hunger strikes, the public has demonstrated a significant interest in

the issues at stake here. 11


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   Mitch Smith, Prison Strike Organizers Aim to Improve Conditions and Pay, N.Y. Times (Aug. 26, 2018),
https://nyti.ms/2HcX4fj; Daniel A. Gross, An Inside Account of the National Prisoners’ Strike, New Yorker (Sept. 6,
2018), http://bit.ly/377n5Hz; Lindsey Bever & Cleve R. Wootson Jr., Inmates Across the U.S. Are Staging a Prison
Strike Over ‘Modern-Day Slavery,’ Wash. Post (Aug. 21, 2018), https://wapo.st/2StqwDl; Vauhini Vara, The Viral
Success of a Strike No One Can See, Atlantic (Aug. 30, 2018), http://bit.ly/2tFmEGL; Ed Pilkington, Major Prison
Strike Spreads Across US and Canada as Inmates Refuse Food, Guardian (Aug. 23, 2018), http://bit.ly/31El84m;
Laignee Barron, Here's Why Inmates in the U.S. Prison System Have Launched a Nationwide Strike, Time (Aug. 22,
2018), http://bit.ly/377WQ3F; Tess Bonn, Journalist calls for more transparency around prison extreme isolation
practices, The Hill (July 10, 2019), http://bit.ly/2OFCzMz; Mark Binelli, Inside America’s Toughest Federal Prisons,
N.Y. Times (Mar. 26, 2015), https://nyti ms/39v9PhN; Edmund DeMarche, ICE Officials force-feed 6 immigrants on
hunger strike at Texas detention center, Fox News (Jan. 31, 2019), https://fxn.ws/2Uywjdn.


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       Additionally, Defendants’ reasoning that the privacy of BOP staff outweighs the public

interest because information about force-feeding is already in the public domain finds no support

in the law. See Phelps Decl. ¶ 56; ACLU v. DOJ, 655 F.3d 1, 14–15 (D.C. Cir. 2011) (rejecting

this reasoning by the government as a “Catch-22 argument. . .The fact that the public already has

some information does not mean that more will not advance the public interest.”). The videotape

records at issue here are uniquely important because images “present a different level of

detail…and are the best evidence that the public could have as to what occurred at a particular

time, better than testimony, which can be self-serving, better than summaries, which can be

misleading, and better even than a full description no matter how complete that description might

be.” ACLU, 389 F. Supp. 2d at 573. This is especially true here, where the agency’s declarants

who describe the contents of the video were not present for involuntary treatments and can only

offer, potentially self-serving, second-hand representations. Descriptions of the procedures in BOP

Program Statements, in media articles and news segments, though detailed and descriptive, have

less probative value to the public than the videotapes. See id. (finding the public interest in the

original photos of Abu Ghraib detainees was substantial because of their probative value).

IV.    THE DEFENDANTS FAIL TO MEET THEIR BURDEN TO SHOW NO
       MATERIAL WITHIN THE VIDEOS IS SEGREGABLE

       Under FOIA, “any reasonably segregable portion of a record shall be provided to any

person requesting such record after deletion of the portions which are exempt. . . ” 5 U.S.C.

§ 552(b). It is the agency’s affirmative burden to explain why any portion of the withheld materials

is not segregable. Schwartz v. D.E.A., 13-CV-5004 (CBA) (ST), 2019 WL 1299192, at *56

(E.D.N.Y. Mar. 1, 2019). Defendants have wholly failed to meet its burden, neither explaining

what portions might be segregable nor providing a detailed explanation of why they have withheld

the videos in full. They simply perform no segregability analysis whatsoever.



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       To withhold the entirety of a record, the agency must show that it cannot segregate exempt

material from non-exempt, and the agency must disclose as much as possible. Kimberlin v. DOJ,

139 F.3d 944, 949–50 (D.C. Cir. 1998). Furthermore, it is long established that “the focus of the

FOIA is information, not documents, and an agency cannot justify withholding an entire document

simply by showing that it contains some exempt material.” Mead Data Cent., Inc. v. U.S. Dep’t of

Air Force, 566 F.2d 242, 260 (D.C. Cir. 1977). Videos are treated similarly. Schwartz, 2019 WL

1299192, at *5 (noting DEA failed to address specifically whether there were reasonably

segregable portions of a video, as required under FOIA).

       Far from explaining why segregability is not possible, Defendants say no more than “every

effort was made to provide Stahl with all reasonably segregable nonexempt information contained

in the responsive records.” Defs’ Mem. 8. Their Vaughn index is similarly conclusory, stating

nothing more than that the “images/depiction of the BOP staff are not segregable.” Fenstermaker

Decl., Ex. E, at 5. This is insufficient to justify withholding the videos in full, as the reasoning

behind the justification must not be vague, conclusory statements. Mead Data Cent., Inc., at 261;

see Schwartz, 2019 WL 1299192, at *6 (remanding to district court on segregability where agency

provided no supporting justification for its conclusory statements). Indeed, a district court must

make “specific findings” on segregability and may not rely solely on conclusory statements by the

agency. Stolt-Nielsen Transp. Grp. Ltd. v. United States, 534 F.3d 728, 734 (D.C. Cir. 2008); see

also ACLU v. DOJ, 229 F. Supp. 3d 259, 266 (S.D.N.Y. 2017) (“before approving the application

of a FOIA exemption, the district court must make specific findings of segregability. . . .”). Courts

require agencies to “differentiate among the contents of a document rather than to treat it as an

indivisible ‘record’ for FOIA purposes.” F.B.I. v. Abramson, 456 U.S. at 626.

       Additionally, Defendants’ own communications suggest that they did not review the




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records for segregability before summarily withholding the videos in their entirety. In an email

between Defendants’ declarant, Ms. Fenstermaker, and BOP staff who were tasked with searching

for any force-feeding videos of Mr. Salameh, Fenstermaker instructed that they should “[k]eep in

mind if there are any videos found, they will be withheld in there [sic] entirety.” Declaration of

Betsy Ginsberg, Ex. A & B. The agency’s failure to review the videos prior to deciding to withhold

them in full, combined with their conclusory statements on segregability, make plain that

Defendants cannot meet their burden of disclosing “any reasonable segregable” portion of the

videos. 5 U.S.C. § 552(b). Gatore v. D.H.S., 177 F. Supp. 3d 46, 52 (D.D.C. 2016) (denying

summary judgment where agency’s assertion that they conducted a “line-by-line examination” of

each document was undermined by their own blanket policy not to release any portion of an

assessment, regardless of its contents).

                                           CONCLUSION

       For the foregoing reasons, the Court should deny Defendants’ Motion for Summary

Judgment and should enter summary judgment in favor of Plaintiff Stahl as to the government’s

improper withholding of the thirteen videos, in whole and in part, from plaintiff.


Dated: February 10, 2020
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